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1                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF KANSAS
2

3     UNITED STATES OF AMERICA,

4          Plaintiff,

5          v.                                                Case No. 19-20052-JAR

6     FENG TAO, a/k/a "Franklin
      Tao,"                                                  Kansas City, Kansas
7                                                            Date: January 18, 2023
          Defendant.
8      ..........................

9
                            TRANSCRIPT OF SENTENCING
10                   BEFORE THE HONORABLE JULIE A. ROBINSON
                    SENIOR UNITED STATES DISTRICT COURT JUDGE
11

12                                 A P P E A R A N C E S

13     For the Plaintiff:

14     Mr. Adam Barry                                    Mr. Christopher Oakley
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17     For the Defendant:

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       Mr. Peter R. Zeidenberg
19     ARENT FOX, LLP
       1717 K Street NW
20     Washington, D.C. 20006

21

22

23

24      _____________________________________________________________
                 Proceedings recorded by machine shorthand,
25          transcript produced by computer-aided transcription.


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1                                  P R O C E E D I N G S

2                 THE COURT:       We're here in United States versus Feng

3      Tao, 19-20052.     Your appearances, please.

4                 MR. BARRY:       Adam Barry and Chris Oakley on behalf of

5      the United States.        Good morning, Your Honor.

6                 THE COURT:       Good morning.

7                 MR. ZEIDENBERG:           Good morning, Your Honor.                   Peter

8      Zeidenberg and Michael Dearington on behalf of Dr. Tao, who is

9      present.

10                THE COURT:       Good morning.

11                All right.       So we're here for sentencing.                        I have a

12     number of things that have been submitted that I've read and

13     rely upon.    Obviously the presentence report, the parties have

14     filed sentencing memoranda, there have been a lot of letters in

15     support of Dr. Tao submitted including some additional ones

16     that I received yesterday, the presentence report includes

17     victim impact statements of a representative of NSF and a

18     representative of KU.          So those are all of the things that I

19     have taken into consideration.

20                My understanding is the parties would like to make

21     some oral submissions as well; is that correct?

22                MR. BARRY:       Yes, Your Honor.                  Dr. Keiser and Ms. Reed

23     are here to give statements in person.

24                THE COURT:       Okay.        And you as well, Mr. Zeidenberg?

25                MR. ZEIDENBERG:           Yes, Your Honor.                  We're prepared.


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1                 THE COURT:       There are a number of objections to the

2      presentence report that I will need to rule upon as well, but

3      why don't we start with the parties' submissions, Mr. Hawk.

4                 MR. BARRY:       I'm not as good looking as Mr. Hawk, who

5      is unfortunately not here, but I will pass on the note.

6                 THE COURT:       Sorry about that, Mr. Barry.

7                 MR. BARRY:       Ms. Reed will give her statement first.

8                 THE COURT:       All right.

9                 MS. REED:      May I come up?

10                THE COURT:       You can do that from the witness stand, or

11     if you'd rather do that from the lectern, that's fine too.

12                MS. REED:      Good morning, Your Honor.                         Thank you so

13     much for hearing the statement from the university.                              We put

14     some information in our statement, but I would just like to

15     reiterate the impact of Dr. Tao's actions on the university as

16     a whole both reputationally because of the lack of integrity he

17     showed as well as to the students he recruited and then was

18     unable to support at the university.

19                In addition to those pieces, the research enterprise

20     as a whole is based on integrity, the idea that the scientists

21     who receive funding from the federal government are going to

22     act in accord with what they have proposed to do.

23                I think that the work that has taken place in this

24     courtroom as well as the lack of final reporting done on

25     several of Dr. Tao's works indicates that he was unable to do


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1      what he had promised because of his lack of integrity, lack of

2      disclosure of his other commitments.

3                 I think, you know, in the end it really is overall

4      just the violation of process and policy at KU.                                  We base our

5      ability to do science and impact the nation on the fact that we

6      have controls in place to ensure that the funding from the

7      federal government goes to support science.                             His actions not

8      only didn't follow what we set at KU as process, but also did

9      not follow the funding expectations of the Department of Energy

10     and the National Science Foundation.

11                I'm not here to talk about his science or the

12     greatness of his science.              I'm here to talk about the

13     fundamental integrity that he didn't show and in the support

14     that he failed to give to the research enterprise, KU students,

15     and KU as an institution of higher education.

16                Thank you.

17                THE COURT:       Thank you.

18                MR. BARRY:       And then Dr. Keiser from the National

19     Science Foundation would also like to make a statement.

20                DR. KEISER:        Thank you, Your Honor.

21                I think a great deal about the NSF mission.                                Our

22     mission established in 1950, just after World War II, is to

23     promote the progress of science; to advance the national

24     health, prosperity, and welfare; and to secure the national

25     defense and for other purposes.


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1                 NSF envisions a nation that capitalizes on new

2      concepts in science and engineering and provides global

3      leadership in advancing research and education.

4                 This mission is accomplished through the funding of

5      the U.S. researchers who produce knowledge to maintain U.S.

6      leadership in science and innovation and for the public good.

7      We're trusted with this mission by the U.S. taxpayer, and due

8      to our successful accomplishment of it, we have bipartisan

9      support, and of course that has led to increased funding, which

10     we're very grateful for from congress.

11                We're entrusted by the public to use this budget

12     honestly and with integrity, to deliver trustworthy research

13     for the public benefit.            We also expect this trust in the

14     researchers we fund.          We expect them to propose for the

15     research and conduct it transparently and objectively.                           We do

16     not dictate to them how they should perform their research.                          We

17     do not tell them how they should do it.                          We give them the

18     freedom to pursue it as they deem most appropriate as experts

19     if their field.

20                In exchange for this trust in them, we expect them to

21     be transparent and objective in all aspects of the conduct of

22     the research from the research application, to their use of the

23     funding, to the conduct of the research itself.

24                Breaches in this trust either through undisclosed

25     conflicts, through commitments that could bring bias, or


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1      through dishonest use of our funding compromise this trust that

2      we have in our researchers and, therefore, compromise the trust

3      in those research results.               In fact, the United Kingdom calls

4      their research enterprise and the pursuit of transparency and

5      integrity trusted research for this reason.

6                 In this particular case I have heard the argument that

7      NSF got what it paid for.              After all, Dr. Tao published his

8      articles in peer-reviewed journals and other researchers have

9      cited those articles.          However, NSF did not get what it paid

10     for.   Certainly the articles were published.                             However, given

11     what we now know about these potential conflicts that were not

12     disclosed and other issues regarding false statements, we

13     cannot trust that the research was performed objectively and

14     without bias.

15                For research to be trusted, we need to have confidence

16     not only in the research results that are published but that

17     the researcher designed the research in an unbiased manner and

18     selected the results to be published honestly and

19     scientifically.     We do not know what results in data were

20     selected for publication and what might have been influenced by

21     any bias that could have been caused by undisclosed

22     affiliations.    We do not know who may have been involved in the

23     research who also might have had influence that we were not

24     aware.

25                NSF places great trust in its researchers to pursue


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1      these things objectively and honestly.                         Another example of an

2      issue like this was National Institutes of Health funded heart

3      research, and it was disclosed that those researchers were

4      accepting funding and had affiliations with alcohol companies.

5      They looked into the design of the research, and it was found

6      that the design of the research was flawed in that design

7      caused the results to hide potential ill effects on the heart

8      from alcohol.    That research had been published in

9      peer-reviewed journals, but the discovered conflict called it

10     into question.

11                NSF's policies regarding disclosure were established

12     to ensure that NSF receive objective, unbiased research.

13     Researchers who do not fully disclose may have incentives to

14     design conduct and report the research in a biased manner.                        The

15     only way to determine the validity of Dr. Tao's research and

16     its objectivity would be to complete a retrospective review of

17     the research effectually requiring a third party to recreate

18     it, which would cause additional time and money dedicated to

19     the project.

20                Had NSF been aware that Dr. Tao's applications and

21     actions taken under the award were not true, complete, and

22     accurate to the best of his knowledge, which constitutes a

23     violation of NSF's grants policy, NSF likely would have sought

24     to have Dr. Tao removed as principal investigator and/or taken

25     other compliance actions.


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1                 I also would like to address the claim that Dr. Tao

2      was not hiding anything as he cited his foreign affiliations in

3      his publications.       First, the citing of these foreign

4      affiliations was not in plain sight.                       Rather, NSF found these

5      acknowledgments through big data analytics that the agency has

6      been compelled to put into place because of these issues

7      regarding nondisclosure.

8                 NSF has had to spend hundreds of thousands of dollars

9      to purchase the raw data from large databases to identify these

10     nondisclosures.     They are difficult to uncover, but the other

11     entity being cited knows that the acknowledgment is there.

12     That other entity then can claim ownership of the research,

13     even though NSF funded a U.S. university and their employee, in

14     this case KU, to perform the research.

15                I would also like to address the claim that there's no

16     proof that Dr. Tao was provided compensation for his foreign

17     affiliations.    There are many incentives besides financial

18     compensation that compel U.S. researchers to claim foreign

19     affiliations without disclosing them.                        These were cited in the

20     2019 JASON report on fundamental research security, and in

21     fact, the foreign government talent recruitment programs that

22     often compel this type of behavior that U.S. researchers agree

23     to are now prohibited by law under CHIPS and Science if you

24     receive federal funding.

25                These programs were not prohibited in 2018, but


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1      certainly the behaviors that are agreed to under the program

2      were concerning for the reasons that I said.                              There could be

3      very generous in-kind contributions provided such as

4      well-equipped labs and access to very qualified collaborators.

5      In exchange for this prestige and these well-equipped labs, the

6      researcher may agree to cite the non-U.S. institution supplying

7      these benefits in their publications rather than their U.S.

8      institution or in addition to their U.S. institution.

9                  The 2019 Senate Homeland Security and Government

10     Affairs Permanent Subcommittee on Investigations report also

11     provides more information about these concerning efforts.

12                 Regarding prestige, the CAREER program from NSF that

13     funded Dr. Tao is intended to provide funding support to early

14     career researchers to advance their research and academic

15     careers.    Dr. Tao directly benefitted from this program to

16     advance his own career.

17                 In funding Dr. Tao's research, NSF did not fund other

18     research.    I've talked about this quite a bit, but it certainly

19     is concerning overall regarding fairness to these other

20     researchers who were not funded as well as to the integrity of

21     the system overall and the harm to the reputation of the

22     federal agency, National Science Foundation.

23                 Thank you very much for listening to me.                             I appreciate

24     it.

25                 THE COURT:      Thank you.


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1                 Mr. Barry.

2                 MR. BARRY:       If you would, we just have a few

3      additional comments for Your Honor.

4                 THE COURT:       Go ahead.

5                 MR. BARRY:       Your Honor is very familiar with the facts

6      of this case already, so I'm going to keep this relatively

7      brief and just focus on a few things that the government wants

8      to make sure that the court is thinking about at the forefront.

9                 First, as noted in the Rule 29 order -- or in the PSR

10     and in the sentencing guidelines, the scope of relevant conduct

11     that the court should be considering in imposing a just

12     sentence is beyond just a single submission of an institutional

13     responsibilities form in September of 2018.                             Under the

14     guidelines it includes "all acts and omissions committed,

15     aided, abetted, counselled, commanded, induced, procured, or

16     willfully caused by the defendant and that occurred during the

17     commission of the offense of conviction, in preparation for

18     that offense, or in the course of attempting to avoid detection

19     or responsibility of that offense."

20                Importantly here, that means that when the court is

21     trying to determine a just sentence, it should consider the

22     actions and choices that Dr. Tao made before the commission of

23     his crime and after in order to try to avoid detection of the

24     falsity of those statements that he made to KU.

25                The court's acquittal of the wire fraud convictions


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1      does not change this.          It's black letter law that judges can

2      consider acquitted conduct in sentencing, and so it's

3      appropriate for the court to just consider those other acts of

4      deceit that furthered his efforts to conceal the falsity of his

5      institutional responsibilities form.

6                 Second, the 3553 factors counsel in favor of a

7      significant custodial sentence and fine here.                               In particular we

8      want to emphasize two to three factors.                          Number one is

9      defendant's characteristics, and number two/three are the need

10     for deterrence and respect for the law.

11                Defendant's characteristics.                       Throughout these

12     proceedings and even in the sentencing memoranda that have been

13     submitted to the court, the defendant has shown an utter lack

14     of remorse.     Lack of remorse can be considered as an individual

15     characteristic and in this case is important when considering

16     specific deterrence.

17                Dr. Tao still claims that he's the victim here and

18     that he did nothing wrong.               He minimizes the offense by falsely

19     claiming that he simply checked the wrong box, and he even

20     continues, despite a jury conviction, to claim that the

21     institutional responsibilities form itself wasn't even

22     incorrect.

23                This is one of the main reasons that the court should

24     make clear to the defendant, to Dr. Tao, and to the public at

25     large that he's been convicted of a felony and that the conduct


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1      that led him here and the choices that led him here should not

2      happen again.     This is relevant to specific deterrence in a

3      context in which he has stated that because he does not believe

4      he did anything wrong, he hopes to continue to do research and

5      he needs to be told that the way that he did the research here

6      is unacceptable and illegal.

7                 It's also important for general deterrence.                           Other

8      similarly-situated defendants or scientists should be told that

9      the degree of deceit and misconduct here causes real harm, it

10     will be rooted out, and it will be punished accordingly.

11                Undisclosed participation in foreign talent

12     recruitment programs is a larger issue that needs to be

13     stopped.    The truth is important, especially in federal grant

14     making, and a custodial sentence here would show that.

15                Defendant argues in his sentence -- one of his

16     sentencing memoranda that we're trying to punish his lack --

17     punishing him for lack of remorse is trying to punish his

18     constitutionally-protected activity.                       That's incorrect.       The

19     case law says that lack of remorse can be considered under the

20     3553 factors that I mentioned earlier.

21                Furthermore, the cases that the defendant cites in his

22     briefing don't actually stand for the support that he claims I

23     think, for example, the Gall v. United States case that he

24     cites doesn't have anything to do with constitutionally-

25     protected activity.


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1                 The case that you should look at is Bordenkircher v.

2      Hayes, which is a Supreme Court case from 1978 and its progeny.

3      That's where the language actually comes from, and what that's

4      talking about is a situation in which the government decides to

5      supersede or indict somebody for a more serious crime as a

6      result of either a failure in plea negotiations or defendant's

7      insistence on not providing incriminating statements or seeking

8      a jury trial.     It's about whether the government is vindictive

9      and vindictively prosecuting somebody.

10                That's not what's going on here.                          The lack of remorse

11     is important just to demonstrate that this matters, that these

12     were lies that mattered to people that were real victims, that

13     there was harm here, that this isn't something that's just a

14     paperwork error to H.R.            That's the conduct that we're seeking

15     to punish here, and it's not something that's constitutionally

16     protected.    It's not like we're seeking to punish him for

17     statements he didn't make or choosing to go through with a jury

18     trial.

19                A lot of the citations in the government's briefing

20     actually focuses on statements that Dr. Tao made outside of the

21     courtroom either to the press or in other forums in which he

22     tries to minimize the charges that were pending against him and

23     his conduct.

24                The third and final thing I want to emphasize is there

25     are two factual issues that are talked about in the defendant's


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1      memos that I just want to clarify.                        The first is the sequence

2      of funding the grants.           So the two grants that are still at

3      issue are an NSF grant and a Department of Energy grant, and

4      those grants were both received after Dr. Tao received the

5      Changjiang Distinguished Professor program award and started

6      working at Fuzhou.

7                 Now, the court's Rule 29 order and the PSR recognize

8      this sequence, but there is a discussion in the salary

9      maintenance analysis in the court's order on page 44 where the

10     court appears to have confused the date and said that the

11     grants were actually not granted until -- that they were

12     granted before he started working at Fuzhou.                              That's factually

13     inaccurate.

14                The truth is that he submitted the grant in late 2017.

15     He began performing services for Fuzhou in March 2018.                             He

16     accepted the position in May 2018.                        He made disclosures in May

17     and June of 2018, false disclosures related to current and

18     pending support, and then in July of 2018 he was rewarded the

19     Department of Energy grant and in September -- or sorry, the

20     National Science Foundation grant and in September he was

21     awarded the Department of Energy grant.                          So just a factual

22     thing that I wanted to clarify for the record.

23                The second factual point I just want to make is the

24     foreign research support that should have been disclosed that

25     we're talking about in our briefing in that the facts proved at


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1      trial is the $3 million in funding that Fuzhou University and

2      PRC government promised to Dr. Tao as a result of becoming a

3      Changjiang Distinguished Professor.                       That's in the last draft

4      contract that was admitted into evidence.                           It's what Dr. Tao

5      told one of his colleagues in a recorded call, and it's

6      consistent with the way that the Changjiang program works.

7                  Furthermore, as noted in our Rule 29 briefing, Dr. Tao

8      even touts the fact that his source of funding is Fuzhou in one

9      of his National Science Foundation of China proposals.

10                 In closing, the government just wants to emphasize

11     that this was a serious crime that deserves a serious

12     punishment.     Dr. Tao was convicted of lying to KU and the

13     federal government about his second job at Fuzhou University as

14     a Changjiang Distinguished Professor.                        These lies were

15     elaborate, they were numerous, and they were long-lasting.

16     They matter to KU and the federal government, and as a result,

17     both victims have been injured.

18                 Like many white collar criminals, Dr. Tao worked

19     really hard; we don't dispute that.                       But he didn't work

20     honestly.    He didn't work with integrity.                         Instead, he lied to

21     the very people and institutions who had trusted him and helped

22     him build his reputation as a scientist.

23                 So after considering the appropriate enhancements and

24     the 3553 factors, the government respectfully recommends that

25     Dr. Tao be given a custodial sentence and a fine.


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1                 Thank you, Your Honor.

2                 MR. ZEIDENBERG:           Good morning, Your Honor.

3                 THE COURT:       Good morning.

4                 MR. ZEIDENBERG:           I want to correct a number of things

5      that the government just represented including the fact that

6      Dr. Tao was convicted of lying to KU.                        He was not convicted of

7      lying to KU.     He was convicted of lying to the federal

8      government, one count, National Science Foundation.

9                 It was a false statement on a KU H.R. form.                           He failed

10     to disclose not a financial conflict of interest but a time

11     commitment.     The NSF regulations don't even require that

12     universities have a time commitment conflict in their policies.

13     All this talk about how this is such an egregious and harmful

14     lie, they don't even have a policy on time commitments.                            They

15     only care about the example that you were given, which is when

16     you have a conflict of interest in the normal sense, which is

17     if you're being funded by the tobacco company and you're doing

18     research into lung cancer or smoking, then that is something

19     that the NIH needs to know.

20                But it's very different than having a time commitment,

21     particularly when, as the court found in this case, all of the

22     work got done.     The court found that Dr. Tao did not indicate

23     on the form that he had a time commitment conflict, but that

24     even if he had disclosed it, he would still have been able to

25     keep his KU job and still have been a PI on the grants that


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1      were awarded.

2                 The court found -- Your Honor found that the

3      nondisclosure did not affect any of the granting agencies

4      because the grants at issue were all awarded prior to the

5      nondisclosure on the conflict of interest.                            The sequence that

6      the government just recited does not contradict that, Your

7      Honor.    At the time he applied for the grants, he did not have

8      the conflict.

9                 The court found correctly that KU does not even share

10     the conflict of interest form, the institutional

11     responsibilities form with the granting agencies.                                Your Honor

12     found that Dr. Tao was able to do all of his KU work and all of

13     his grant work.     Your Honor found that the agencies received

14     high quality work from Dr. Tao and were fully satisfied.

15                Your Honor found that KU received what it paid for

16     regarding Dr. Tao's work as a professor, which is really

17     irrefutable because in April of 2019, a year into this, as the

18     court recounts in its order, he was one of four professors to

19     receive an award from -- the Scholarly Achievement Award for

20     his outstanding work.          I mean, if that isn't proof that he's

21     doing his job at KU, then, you know, nothing is.                                 He was lauded

22     by Chancellor Girod for his incredible accomplishments and

23     output.

24                Your Honor, as a result of this conviction his

25     guidelines are zero to six months, and the appropriate sentence


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1      in this case we submit is time served, a week in jail which is

2      what he spent awaiting trial -- I mean, when he was arrested

3      for failing to disclose on an employer's institutional

4      responsibility form a time commitment that ultimately did not

5      impact his work, is sufficient but not greater than necessary

6      to accomplish the purposes of sentencing.

7                 I want to talk about the price that Dr. Tao has

8      already paid.     For three and a half years, Your Honor, while

9      this case has continued since his arrest, Dr. Tao and his

10     family have lived in anguish that he would spend years in

11     prison, pay millions of dollars in restitution and fines, and

12     then be deported.

13                For three and a half years he's had an ankle monitor

14     on his ankle.     He's had to bathe every day with his leg

15     sticking out of the bathtub because it can't get wet.                            He

16     hasn't taken a bath or a shower as a normal -- you know, the

17     way that the rest of us do for three and a half years.

18                He's been unable to leave the jurisdiction without the

19     court's permission.         For three and a half years he's been under

20     the supervision of probation, subject to checks, phone calls,

21     and visits.     He's not had a single violation in three and a

22     half years.

23                KU is either moving to terminate him or has terminated

24     him.   He has a letter saying he's been terminated, so he's

25     unemployed.     The job that he worked for the last two decades to


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1      obtain, the position that means so much to him has been taken

2      from him.    He's lost it.           That is a consequence of not filling

3      out his time commitment.             That is a harm that he has already

4      suffered and will suffer regardless of what the court imposes.

5                  His reputation has been ruined.                        His name has been

6      dragged through the mud and all over the Internet.                               He's been

7      accused of being a spy.            He's gotten e-mails from people

8      wishing that he be executed for treason.                           His family's finances

9      have been destroyed.          He has nothing left.                    He's borrowed all

10     that he can borrow.         He's unemployed.                 He hasn't been paid for

11     three years.     He owes over a million dollars in legal fees.

12     He's borrowed everything he can from everyone he knows.                              He

13     will never be able to pay this back.

14                 So in deciding what is a just sentence and if he's

15     paid a high enough price, the court should consider all of

16     these factors and consider them in light of what he was

17     actually convicted of, a false statement on an employer's

18     institutional responsibilities form.

19                 Now, Dr. Tao's a unique individual as we all are, but

20     his story is one that is just remarkable.                           He grew up literally

21     dirt poor, unimaginable poverty.                    Seven people living in

22     basically a two-room hut, no electricity, no running water, no

23     lights, no plumbing, no central heating, obviously no

24     air-conditioning.       He was malnourished as a child.                          He never

25     had a glass of milk until he went to college, rarely ate meat,


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1      had no fruit, and believed that's why he's of small stature

2      now.

3                  But it was through incredibly hard work that he got to

4      a college in China, and somehow, because of his grit, his

5      determination, and his smarts, he made it to Princeton

6      University and in four years got his PhD.                           Then went to

7      Berkeley, then he went to Notre Dame, excelling everywhere.

8                  Your Honor got -- received and we submitted probably

9      two dozen letters of support, and when you sit back and you

10     read all these letters, you get a distinct impression because

11     there's common themes that run through these letters and that

12     is that Dr. Tao is the hardest working, most dedicated

13     scientist that all of these people have ever met.

14                 He was single-minded in his dedication to science.                     He

15     was not interested in money.                He's not interested in material

16     things.    Even on a college professor's salary he would pay out

17     of his own pockets to go to conferences rather than dip into

18     research funds because he wanted to save that money for

19     research.    He would, when traveling, rather than stay in a

20     hotel, sleep overnight in the airport because he wanted to save

21     those research funds for his group so that they could do

22     research.

23                 And even after his arrest in this case, Your Honor,

24     he's continued to publish -- 16 publications and a book in the

25     last three and a half years.                And the government actually


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1      mentions that as an aggravating factor that you should hold

2      against him.     Apparently the government would prefer Dr. Tao to

3      be curled up into a ball, unresponsive, depressed, not being

4      productive, not using his mind, not contributing to science.

5      Instead he has been working with all that's been going on,

6      publishing -- and those results are published.                                   They're listed

7      today on the KU websites.

8                 And I want to talk about that research because there's

9      never been a legitimate question about the integrity of the

10     research or his scholarship.                All of these articles are peer-

11     reviewed, Your Honor.          It's not just Dr. Tao writing an article

12     and posting it on the Internet and now the government says --

13     NSF says all of this is now under question.

14                I mean, think about this, how disingenuous this claim

15     is, that they say in 2018 he didn't report a time conflict,

16     which NSF doesn't even require a time commitment, and somehow

17     that calls into question the legitimacy of research he did in

18     2011, 2012, in 2013, 2014 and '15.                        How or why does that logic

19     follow?

20                I want to point the court's attention to one of the

21     letters that we filed yesterday from a physics professor for

22     40 years at the University of Central Florida because I think

23     he makes a couple really important points about how research

24     works.    And he says, "The prosecution would have you agree" --

25     for the record, Your Honor, this is the letter from Talat


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1      Rahman.

2                 "The prosecution would have you agree that Tao's

3      unreported support and affiliations call into question the

4      validity of all the research that he has performed for NSF over

5      the years.    This claim reveals profound ignorance of how

6      peer-reviewed journals choose to accept or reject papers

7      submitted for their consideration.                        It takes no account of the

8      expert judgment of the scientists those journals appointed to

9      review the papers Dr. Tao submitted who recognize scientific

10     merit and recommended their publication.                           These are the proper

11     judges of the validity of the research that he has performed

12     for NSF over the years.

13                "The prosecution would have you believe that Dr. Tao

14     distorted NSF's decisionmaking process and distribution of

15     finite taxpayer funds, thereby harming other worthy principal

16     investigators who were honest but did not receive the funds

17     that ultimately went to Tao to fund his research.                                But there

18     was no such distortion in funding research, since NSF made its

19     decision about continuing support of Professor Tao's research

20     on the basis of its quality as demonstrated to the judges

21     relied on by those publications.                    Had Professor Tao been shown

22     to have been misrepresented his lab findings, the case would be

23     different, but that is not the variety of honesty the

24     prosecution convinced the jury about.

25                "NSF and American taxpayers were abundantly rewarded


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1      by the quality of Professor Tao's research as judged by the

2      relevant experts of that quality."

3                 Your Honor, AASF, Asian American Scholar Forum, said

4      something very similar in a letter they submitted.

5                 And it is just amazing, in light of what the NSF said

6      to you and what the government has represented, that if you go

7      on the NSF website today, you will see papers -- Franklin Tao.

8      These papers -- this is from 2014.                        This is from 2018.     This is

9      from 2015.    This is National Science Foundation on their

10     websites today touting this research.

11                The Center for Environmentally Beneficial Catalysis at

12     KU lists under recent publications Tao, F.                            That's Franklin

13     Tao, Your Honor, 2022.

14                Page 507, Franklin Tao.                  Franklin Tao.

15                Your Honor, they can't have it both ways, claim that

16     this research is no good and yet post it on their websites so

17     they can get that reflected glory of look at all the work that

18     we have done.

19                And, Your Honor -- I mean, Your Honor found -- and

20     these are some quotes from Your Honor's order on this that

21     touch on this subject that Your Honor found -- this was from

22     your order, page 35 -- neither Reed or any witness from KU

23     testified or suggested that Tao's foreign affiliation and

24     activities presented or likely presented a conflict of interest

25     that would have led KU to not submit his grant proposals to DOE


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1      or NSF or to prohibit him from working on the grants once

2      awarded.    There is no evidence that Tao fraudulently induced

3      DOE or NSF to award grant funds.

4                 You also found that there was no evidence that NSF did

5      not receive what it bargained for.                        Keiser was unaware of any

6      allegations that Tao's research was not performed precisely in

7      the manner prescribed.           While she expressed some concern that

8      the possibility that a researcher who fails to disclose an

9      affiliation and research support might perform NSF-funded

10     research using unapproved equipment, the government never

11     alleged, argued, or introduced any evidence that Tao performed

12     his research for NSF using unapproved equipment outside of KU.

13                Your Honor also found that there was no evidence that

14     had Tao told the truth, he would not have received his salary,

15     access to KU facilities and equipment, or the federal grants.

16     And Your Honor's findings were well supported, we submit, by

17     the record.

18                Your Honor, I think it's worth asking why the

19     government is trying to send and asking the court to send

20     Dr. Tao to prison for two and half years when the guidelines in

21     this case are zero to six months and the offense is a false

22     statement on an institutional responsibility form reporting a

23     time conflict when all of the work was ultimately done.

24                And I think it's worth bearing in mind the context in

25     which this case came to them and how they approached it and how


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1      they have prosecuted it and how they are still treating it.

2      The woman, the visiting scholar that the government in its

3      papers calls a former colleague and thanks her for her

4      volunteering this information to save them by reporting on

5      Dr. Tao was actually extorting him.                       She demanded $300,000 from

6      Dr. Tao for her spiritual hurts; that's her quote from an

7      e-mail.

8                 She said that -- she e-mailed saying that she would

9      accuse him of severe academic misconduct and forged authorship,

10     not that he had done that.               She said that's what I'm going to

11     accuse you of if you don't pay me.                        And when he didn't pay her,

12     she then e-mailed him saying being a tech spy is a very popular

13     term these days, and she lied to the FBI and she made up

14     aliases which she admitted to.                  She made up aliases and she

15     accused him of economic espionage which was not true but which

16     the government believed and as a result of that belief had

17     drones following Dr. Tao and his family and he had surveillance

18     on him, his wife, his children, and the people who worked in

19     his lab for 16 hours a day because they thought he was a spy.

20     And of course he wasn't.

21                But they have still handled this case as if -- as if

22     there's all this nefarious smoke that they constantly are

23     injecting into the case.

24                Your Honor, what we take issue with in the sentencing

25     memo is the government asked the court for an enhanced sentence


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1      because Dr. Tao had the temerity to insist on his innocence and

2      his counsel filed too many motions and Dr. Tao's wife extolled

3      her husband's innocence and believes in him and to this day

4      believes in him.      And wouldn't all of us here want our spouse

5      to believe in us?       And somehow her saying that publicly that

6      she believes in her husband and she wants his name to be

7      cleared and she's fighting for him and is trying to raise money

8      for him, all of that is an aggravating factor that the court

9      should somehow consider and punish him for?

10                That would be unconstitutional.                         That is what we're

11     talking about.     Insisting on your innocence is your

12     constitutional right, and I shouldn't have to remind the

13     government that he was indicted for ten felonies; he was

14     convicted of one.       He was indicted for defrauding these

15     government agencies, and as the court found, he didn't.                              So he

16     had a reason to insist on his innocence.                           And of course even if

17     he didn't have a reason, that is his right to put the

18     government to the trial.

19                Your Honor, the research got done; the work got done.

20     This was not a conflict.             There was no evidence, and there was

21     no other foreign grants to report.                        He didn't receive any other

22     foreign grants.     There was no other foreign money.                            It was a

23     time commitment which he ultimately was able to handle on his

24     own.   Should have reported it, as the court found, if you have

25     a time commitment.


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1                  But he was able to do the work.                        There was no harm

2      caused.    That's why there was no loss.                       That's why his

3      guidelines are zero to six.                And a guideline sentence or a

4      sentence of time served is more than appropriate when the court

5      looks in the full context of the impact that this case has had

6      on Dr. Tao's life, the irretrievable life that is now lost, the

7      future that he had which is now gone, all is a direct

8      consequence of his conduct, all factors the court can consider

9      when deciding whether or not a sufficient price has been paid,

10     and we submit that it has.

11                 Thank you, Your Honor.

12                 THE COURT:      All right.            Thank you.

13                 All right.      I'm going to start by ruling on the

14     objections to the presentence report.                        They're all objections

15     filed by the government.             The defendant has not filed any

16     objections to the presentence report.                        And then I will proceed

17     with announcing proposed findings of fact and a tentative

18     sentence and then hear any final objections or recommendations,

19     requests, et cetera, from the parties before I announce a final

20     sentence.

21                 So let me rule on the objections.                          Dr. Tao has a right

22     to allocute, and so I will -- after I rule on objections, I'll

23     call on him if there's anything, Dr. Tao, that you would like

24     to say to me directly in your own behalf before I proceed with

25     sentencing, that is your right, so I will call on you and give


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1      you the opportunity to do that as well.

2                  All right.      So let me run through the objections by

3      the government to the PSR.               The first is to paragraph 17.                   And

4      many of these objections, in fact most of them, have to do with

5      factual statements in the presentence report that was authored

6      by the probation officer, but frankly I think by and large

7      lifted from my memorandum order and opinion that granted the

8      defendant -- that mostly granted the defendant's motion for

9      judgment.    And I'm not going to revisit that decision.                               I gave

10     very lengthy and detailed explanations for my ruling in that

11     order, and so I'm going to stand on that.

12                 But so the first objection is to paragraph No. 17, and

13     this has to do with whether or not there was an executed

14     employment agreement.          The government asked that the language

15     in that paragraph be amended.                 The objection is denied.                 Again,

16     this finding comes from my decision granting Dr. Tao's motion

17     for judgment of acquittal on the wire fraud counts.                               Also this

18     does not impact the guidelines calculations in any event.

19                 The second objection also pertains to paragraph No.

20     17.   There's a statement in there that says nor is there

21     evidence that Tao received any payments from FZU.                                The

22     government asked that that be amended.                         That objection is

23     denied.    Again, this comes from my decision.                            I think -- there

24     was no evidence that he received payments from Fuzhou.                                 At most

25     there was evidence -- and I actually think it was the testimony


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1      of Dr. Tao's wife -- that, you know, he may have received, you

2      know, housing and, you know, dinners or something in part while

3      he was there, but he also stayed with family, but there was no

4      evidence of direct payments to Dr. Tao despite the government's

5      best efforts in getting bank account information and doing a

6      search on his house and seizing devices and that sort of thing.

7                 The third objection is to paragraph No. 52, and the

8      language specifically that comes from my order is that NSF

9      never saw a principal investigator's KU institutional

10     responsibilities form, and there is no evidence that had Tao

11     disclosed his foreign activities to KU, KU would have disclosed

12     this information to NSF.             Again, I'm going to stand on my

13     written decision.

14                There was evidence from NSF, DOE as well, that had

15     certain information been disclosed -- and there was evidence

16     from KU as well, its office of -- headed by Ms. Reed and by

17     others ahead of her -- that if there had been certain

18     disclosures made, it did not mean he would lose his principal

19     investigator status.          It did not mean the application wouldn't

20     have been submitted.          It didn't even necessarily mean it would

21     have been disclosed to the funding agencies because it would

22     have been a conflict that would have been investigated to see

23     if they could work around it and avoid there even being the

24     existence of a conflict.             So I think that language is

25     appropriate.     Also, like the other objections, it does not


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1      impact the guideline calculation.

2                  The fourth objection is to paragraph No. 85.                               This

3      paragraph relates to Dr. Tao's daughter's medical issues.                                 I'm

4      going to deny that objection.                 There's a reason that it's

5      there.    Probation and the court need to have an entire picture

6      of Dr. Tao's medical issues, his family's medical issues.                                 All

7      of this may be relevant to supervision, which will happen with

8      somebody from the probation office actually coming to the home

9      to supervise.     It also may affect Dr. Tao's ability to --

10     financial ability to pay a fine.                    It may go to the length of

11     the term and appropriate conditions of any supervision.                                 So all

12     of that is relevant to the court -- the court's sentencing

13     decision.

14                 Objection No. 5 is paragraph 94, financial ability to

15     pay.   The court will deny that objection.                          There is no evidence

16     to suggest that Dr. Tao can afford to pay a fine.                                The

17     government questions whether he still owes money on his legal

18     bills.    Absent any evidence that there's anything wrong with

19     the numbers that are in the presentence report, the court is

20     not going to sustain that objection.

21                 To be sure, this case was filed in 2019.                             It was

22     heavily litigated by both parties.                        There were substantive

23     motions, a lengthy trial, post-judgment motions that were

24     largely favorable to Dr. Tao.                 Dr. Tao received effective

25     assistance of counsel and rigorous defense as he's entitled to,


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1      and the court has no reason to believe that he didn't incur

2      significant legal fees as represented.

3                 The next objection, it's actually styled as an

4      objection.    The others were more styled as clarifications, but

5      there's an objection to paragraph 64, and that has to do with

6      no enhancement for loss.             The government argues that the

7      evidence and the victim impact statements prove that there was

8      a loss in this case.          As my lengthy order detailed, Dr. Tao did

9      not -- there was no evidence to prove that he obtained money or

10     property for the conduct or the scheme that's charged in the

11     wire fraud counts.        That's why I acquitted him because Supreme

12     Court law is that absent someone actually obtaining money or

13     property for fraudulent conduct, there is no crime under the

14     wire fraud or mail fraud statutes.

15                Mr. Barry argued this morning that the government does

16     not dispute that Dr. Tao worked hard, but the government argues

17     that he worked dishonestly and without integrity.                                As I've said

18     and as I said in my written order, this was an honest services

19     case, and that's why I acquitted Dr. Tao of the wire fraud

20     counts.    Honest services is not a basis for wire fraud or mail

21     fraud.    At one point in federal jurisprudence it was many years

22     ago, but it is no longer.

23                There's actually been several evolutions of the law on

24     this, but as it stands now and as it stands at the time that

25     Dr. Tao was charged with committing these crimes, honest


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1      services was not a basis.              Someone has to obtain money or

2      property from their fraud.               The Supreme Court has held that,

3      you know, employment issues are not properly the basis for

4      federal convictions for wire fraud or mail fraud.

5                 Failing to do certain things, failing for example to

6      conduct the office hours that you're supposed to conduct during

7      your buyout semester, or being in contact with your students

8      who need your mentorship as they're enrolling for class, things

9      that Dr. Tao was accused of doing, things that the evidence

10     demonstrated that he did, those are not actionable crimes and

11     frankly they shouldn't be.

12                Maybe they're a reason to fire somebody.                              Maybe

13     they're a reason to take employment action.                             But they're not a

14     reason to convict someone of a federal felony and certainly not

15     a reason to send someone to prison.

16                So I deny that objection.                      There was no loss.         There

17     was no loss proved at trial.                The things that the government

18     argues now in terms of being a loss, there was no evidence of

19     such, and they don't constitute loss.

20                I went into this trial frankly thinking I was going to

21     hear evidence that there was a loss, that's why I denied the

22     defendant's pretrial motion to dismiss because I thought and

23     because the government was telling me I thought that there was

24     going to be evidence that Dr. Tao obtained money or property by

25     fraud.    I thought frankly what I might hear at trial and I


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1      never heard was that he wasn't entitled to his salary at KU

2      because during the semester or whenever he was in China, he

3      wasn't doing any work for KU so he was double-dipping so to

4      speak and pulling a salary from KU that he didn't earn.

5                  But I didn't hear that.                 I heard the contrary.                 I

6      heard that this is a man that is obsessed with his work.                                  He

7      always has been.      I heard from his graduate students.                           I heard

8      even when he was in China, Germany, or wherever he might be, he

9      worked them to death and he worked himself to death.                               And he

10     earned his salary at KU.

11                 So there's no loss from the fact that KU paid him a

12     salary.    There was no loss in federal research dollars.                             There

13     was no evidence that the research wasn't conducted, that NSF

14     and DOE for that matter did not receive what they paid for in

15     terms of research and all that that entailed.

16                 What I heard on the contrary was that wherever Dr. Tao

17     was, China or -- mostly China during that one semester and

18     summer, he was on the phone, he was e-mailing his post-docs and

19     his graduate students and he worked them to death, and it was

20     as if he was there full-time.                 The research was conducted, so

21     there was no loss associated with that nor was there any gain

22     to Dr. Tao from fraudulent conduct.                       He earned what he

23     received.    He did the work he was supposed to do.                              It's a

24     separate question obviously about research integrity and all of

25     that, and I'll talk about that, but just in terms of did he


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1      produce the work that was anticipated and the answer is yes.

2                 So I'll deny and -- overrule and deny this objection

3      for all of the reasons stated.

4                 The second objection which is actually styled as an

5      objection is to paragraph No. 64 and that's an objection for

6      not including a two-level enhancement for sophisticated means

7      and a substantial part of the scheme occurring outside of the

8      U.S.   Either one of those would support an enhancement under

9      guideline 2B1.1(b)(10).            This enhancement would apply if the

10     fraudulent scheme was committed outside of the U.S. or if it

11     otherwise involved sophisticated means and the defendant

12     intentionally engaged in or caused the conduct constituting

13     sophisticated means.

14                The government argues that the evidence supports both

15     grounds for the enhancement.                The defendant spent a significant

16     amount of time in China during his scheme and often used his

17     distance from the United States and lack of transparency into

18     his activities in China to execute and conceal his scheme and,

19     second, because the scheme was sophisticated, including the

20     cover story about collaborating with Fuzhou, the Fritz Haber

21     Institute collaboration cover story, using Fuzhou team members,

22     using multiple e-mail accounts located in the U.S. and China to

23     conceal illegal activity, and that after he was charged, many

24     public documents were scrubbed to remove references of his

25     collaboration with Fuzhou from the Internet and that he


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1      partitioned his hard drive to conceal electronic evidence of

2      his conduct.     So those are all of the arguments that the

3      government gives in favor of his enhancement.

4                 Dr. Tao responds he was acquitted of fraudulent

5      conduct, and he argues his only crime was concerning the

6      institutional responsibility form and failing to check a box,

7      which is not a sophisticated action.

8                 I'm going to deny this objection for the reasons

9      stated in probation's response.                   Essentially, although the

10     conduct described by the government is arguably relevant

11     conduct under guideline 1B1.3, Dr. Tao's acts were not

12     particularly sophisticated.                They could be accomplished by an

13     average adult with little difficulty.

14                Now, Internet scrubbing could be considered

15     sophisticated, but there was no evidence presented at trial and

16     no evidence now that Dr. Tao was responsible for any scrubbing

17     of the Internet.      And of course his time spent in China is not

18     related to the false statement charge at all.

19                The third objection under paragraph 66 is failure to

20     include a two-level enhancement for abuse of position of trust.

21     This enhancement applies if the defendant abused a position of

22     public or private trust or used a special skill in a manner

23     that significantly facilitated the commission or concealment of

24     the offense.

25                This enhancement requires the court to make two


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1      findings:    First, that he possessed a position of trust and,

2      secondly, that he abused the position to significantly

3      facilitate the commission or concealment of the offense.                            And

4      the court can consider relevant conduct when imposing this

5      enhancement, but in the Tenth Circuit the first prong of the

6      test requires that the position of trust must be found in

7      relation to the victim of the offense.

8                  The question of whether an individual occupied a

9      position of trust is evaluated from the victim's perspective.

10     The government argues this enhancement applies because KU

11     trusted Dr. Tao by giving him autonomy to devote his time to

12     research as needed and did not micromanage him and this allowed

13     him to take advantage and conceal his activities in China.

14                 The government argues that NSF places trust in its

15     principal investigators, otherwise it cannot trust the

16     research.    The defendant responds that he was not in a position

17     of trust vis-a-vis the federal government, which is the victim

18     of the crime of conviction, and there is no evidence that NSF

19     even had access to the form, much less reviewed it.

20                 I'm going to deny this objection.                          Any problems with

21     position of trust that was abused was in relation to KU, which

22     is not the victim of the crime.                   It's NSF.

23                 Objection No. 4 is that under guideline 5K2.5 I should

24     apply an upward departure if I find that the loss is zero,

25     which I do find that the loss is zero.                         The government urges me


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1      to impose an upward departure to reflect the loss described in

2      the victim impact statements that were submitted by KU and NSF,

3      which if I find that there is loss in the victim impact

4      statements, that would warrant an upward departure perhaps.

5      The extent of the increase ordinarily should depend on the

6      extent the harm was intended or knowingly risked and on the

7      extent to which the harm to property is more serious than other

8      harm caused or risked by the conduct relevant to the offense of

9      conviction.     I'm going to deny this objection.

10                Although the court can and does take into

11     consideration the victim impact statements when sentencing the

12     defendant, these statements do not demonstrate that there's

13     property and harm sufficient to justify an upward departure.

14                I'll give you an example.                      One of the arguments was

15     that there was harm to the students, and I understand that.

16     Students come into this academic environment at this level and

17     often apply for a PhD program and certainly post-doctoral work

18     based on the researcher's -- the people that they hope to work

19     for and with.

20                And Dr. Tao was put on I believe administrative leave

21     without pay after he was charged, and those students no longer

22     had access to him at least under the auspices of KU, so I

23     understand that a PhD student or post-doctoral student

24     certainly was affected by this, but they would have been

25     affected had Dr. Tao gone to Fuzhou or gone to another


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1      university.     That's the risk they take.                       They understand that.

2                 Dr. Tao did not leave KU willingly obviously.                                He left

3      because KU put him on administrative leave as a consequence of

4      these charges.     So that's a risk they take.                          I'm not

5      diminishing that.       I feel bad for the students.                             But it's not

6      really a loss in that sense.

7                 Similarly, when we talk about federal funding, and I

8      don't know -- I glean from the victim impact statements that

9      there's an argument that because of Dr. Tao being charged and

10     all that happened, he was no longer the principal investigator

11     and no longer the person that that funding was tied to, whether

12     it was NSF or DOE, I understand that.

13                But I'm also reminded that Dr. Tao comes to KU with

14     money from -- government money that funded him while he was at

15     Notre Dame, so as these principal investigators go from

16     academic institution to academic institution, that seems to me

17     as something that happens.               They may take government funding

18     with him that's tied to them.

19                So, again, I understand this all comes back to the

20     fact that Dr. Tao was charged with a crime and put on

21     administrative leave, and I don't know if he's terminated or

22     what the situation is now, but to the extent NSF, DOE, or other

23     funders were put in a position now of not wanting to fund

24     research because the principal investigator left, I understand

25     that.


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1                 But I also understand that the way this all works is

2      it's tied to a particular investigator.                          Had he left and gone

3      to China, same thing would have happened.                           Had he been hit by a

4      bus and died, the same thing would have happened.                                 I mean, had

5      he gone back to Notre Dame, maybe he would have been able to

6      take the research money with him or maybe he wouldn't have.                                 It

7      is tied to him individually; that I understand.                                  But it's not a

8      basis for loss.     It's not a basis for an upward departure.

9                 So where we're at is -- and I'll make the following

10     proposed findings about the guidelines themselves.

11                The total offense level is six.                         And the criminal

12     history category is one.

13                The government asks for -- they ask for both an upward

14     departure or variance.           I've denied an upward departure, but

15     they also ask for a variance upward to I believe a 30-month

16     sentence, which is quite a variance upward from a guideline

17     range of zero to six months, arguing that under the 3553(a)

18     factors it's warranted.            And I'm going to address those

19     factors.

20                The defendant is arguing for a guideline sentence

21     also, arguing under the 3553(a) factors the court should not

22     grant a variance.       I'm going to address that as well.

23                But before I go further, Dr. Tao, you have the right

24     to address me directly before I make any sentencing decisions.

25     Is there anything that you'd like to say directly to the court


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1      at this time?

2                 MR. ZEIDENBERG:           Your Honor, I've spoken with Dr. Tao,

3      and he is satisfied with my representations.                              He doesn't wish

4      to address the court directly.

5                 THE COURT:       Okay.        All right.            I'm going to make the

6      following findings, and as part of the findings and as part of

7      my announcing a tentative sentence, I'm going to address the

8      3553(a) factors.

9                 So the total offense level in this case is six and the

10     criminal history category is one.                     The statute sets a maximum

11     sentence of five years of prison, a maximum three years of

12     supervised release, a range of one to five years of probation,

13     a maximum $250,000 fine.

14                There is no restitution in this case under the

15     statute, and the sentence must include under statute or

16     guidelines a $100 mandatory assessment for the Crime Victims

17     Fund.

18                The guidelines, which of course are discretionary, not

19     mandatory, advise as follows:                 For custody a range of

20     zero months to six months, for supervised release a range of

21     one to three years, for probation a range of one to five years,

22     for a fine a range of 1,000 to 9,500, no restitution, a $100

23     special assessment mandated under the Crime Victims Fund.

24                Again, the government is seeking a 30-month sentence.

25     The defendant is seeking a sentence of time served, which in


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1      this case means a one-week imprisonment sentence because

2      Dr. Tao did serve one week in jail.

3                 The government I believe seeks a one-year term of

4      supervised release.         The defendant seeks no term of supervised

5      release.    The government also seeks a $100,000 fine.

6                 The court's tentative sentence is as follows:                         A

7      custodial sentence of time served, a two-year term of

8      supervised release, no probation because there has been a

9      custodial sentence, no fine, no restitution, a $100 special

10     assessment for the Crime Victims Fund.

11                The court is required pursuant to 18 U.S.C. Section

12     3553(a) to impose a sentence that is sufficient but not greater

13     than necessary to comply with the purposes of sentencing

14     identified in that statute.                In determining the particular

15     sentence to be imposed the court has considered the sentencing

16     guidelines, which promote uniformity in sentencing and assist

17     the court in determining an appropriate sentence by weighing

18     the basic nature of the offense as well as aggravating and

19     mitigating factors.

20                The court has considered the statements of the

21     parties, the arguments of the parties, the presentence

22     investigation report, the written and oral victim impact

23     statements, and the sentencing memoranda provided to the court

24     as well as the numerous -- I think it's several dozen or a

25     couple dozen letters written in support of Dr. Tao.


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1                 After reviewing the presentence report, the court

2      finds that the guideline range of zero to six months is

3      correctly calculated based on a total offense level six and

4      criminal history category of one.

5                 This offense involves the defendant making a false

6      statement on an institutional responsibilities form submitted

7      to the University of Kansas.                He has no prior criminal history

8      and has been compliant on bond since his arrest in August 2019.

9                 After considering all of the 3553(a) factors and the

10     advisory guidelines, the nature and circumstances of the

11     offense, and Dr. Tao's history and characteristics, the court

12     intends to sentence him to a term of time served followed by

13     two years of supervised release for these reasons:

14                First, the nature and circumstances of the offense.

15     This is not a case about espionage.                       This is not a case about

16     industrial espionage.          This is not a case where there was any

17     evidence that Dr. Tao stole anything from KU, NSF, DOE, or the

18     American taxpayers.         This is not a case where there's any

19     evidence that the time that he spent in China was spent to

20     share intellectual property, proprietary information, inside

21     information that was funded by the taxpayers or anyone else

22     with the People's Republic of China.

23                Frankly, I thought going into this case I was going to

24     hear evidence that whatever Dr. Tao's research was about, it

25     was something that it would hurt our taxpayer-funded research


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1      agency, science agencies, it would hurt the taxpayers that he

2      went to China and spent time there working with them because he

3      was sharing information that taxpayers had funded for him to

4      share with KU and with the federal government or whatever, but

5      that's not what the evidence was.

6                 The evidence was that Dr. Tao's research -- first of

7      all, it's not the type of research that is monetized or

8      commercialized.     It's too -- I would call it esoteric.                        I'm not

9      a scientist, probably the wrong word.                        But it's academic.     I

10     think one person testified that if it's ever going to be usable

11     commercially, we're probably I think they said maybe 50 years

12     out or maybe 20 years, a long time out.                          It's the type of

13     research that's fundamental research I think someone called it,

14     and it's the type of research that it's freely shared in the

15     scientific community in all of these hundreds of articles, over

16     200 articles that Dr. Tao has published during his academic

17     career, 16 that he's published since the charges have been

18     filed.

19                It's shared globally.                 It's shared within the

20     scientific community, which is an interesting community that

21     we've all benefited from and a community that largely doesn't

22     recognize borders, and that's been a good thing over the course

23     of human history.

24                That's not to say that there cannot be concerns about

25     sharing certain types of scientific research with frankly our


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1      enemies.    People's Republic of China is not an ally of the

2      United States in any sense.                But that's not what was happening

3      here.    That's not what the evidence demonstrated.                              That was not

4      the type of research that Dr. Tao was performing, and it was

5      the type of research that was freely shared in scientific

6      journals and shared globally.

7                  And so that's not what was happening here.                             This is

8      not an espionage case.           Maybe that's what the Department of

9      Justice thought what was going on, but that's not what was

10     going on.    If it was, they presented absolutely no evidence

11     that that's what was going on.                  Believe me, if that was going

12     on, there would be a very different sentence being imposed

13     today.

14                 Now, scientific integrity is critically important.

15     Dr. Keiser gave us all a really good example in her victim

16     impact statement about the importance of scientific integrity.

17     You've got, you know, a researcher that's researching and

18     producing data that is peer reviewed and accepted as being

19     research of integrity being shared in the scientific community

20     having to do with the heart, but failing to disclose that

21     they're being funded by tobacco companies, something that

22     everyone could understand should be disclosed and that would

23     cause all of us, even lay people, some concern about the

24     integrity of the data.           Is the data real?                  Is it bias?      Is it

25     changed?    Is it -- are certain things not disclosed?                             In other


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1      words, real questions about the integrity of the research

2      itself.

3                 And so that's why NSF, DOE, and these other funding

4      agencies and the universities that they work in partnership

5      with, that's why it's so important to them that forms be filled

6      out, that conflicts be disclosed, that people operate without

7      bias and integrity.

8                 But, again, Dr. Tao argues -- and this is true --

9      there was no evidence that there was any conflict of interest

10     in that sense in this case.                What there was concern about was a

11     conflict of time.       Dr. Tao is over in China, but yet he's

12     supposed to be supervising research at KU even during that

13     buyout semester.      And it turns out he was; he was supervising

14     the research at KU because apparently he's somebody that can

15     work 70 or 80 hours a week consistently.

16                Should he have disclosed these things?                                Absolutely.

17     There was question -- I heard a lot of evidence that called

18     into question how much did anybody understand as to what they

19     were supposed to disclose when certain things happened after

20     the fact, after the application process.                           But there was

21     certainly at least a concern about a commitment of time.                                 And

22     maybe there was a concern about conflict of interest otherwise

23     as well.    It should have been disclosed.

24                That's why I denied the motion for judgment of

25     acquittal on the false statement count.                          That particular


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1      institutional responsibilities form wasn't fully accurate, and

2      that's why Dr. Tao sits here today as a convicted felon and

3      having suffered the consequences over the last three and a half

4      years and the consequences of that going forward.

5                 But he did not commit wire fraud.                           He did not obtain

6      money or property for this.                He engaged in deception.                       If you

7      read my order, there's no question about that.                                   He was

8      deceptive with KU about what he was doing and where he was.

9                 It was interesting because his department chair said I

10     wouldn't have cared if he was in China; I didn't care if he was

11     in Germany; I didn't care where he was as long as the work got

12     done.    And, frankly, I think if Dr. Tao had disclosed what he

13     was doing exactly, maybe we wouldn't be here.                               I don't know.

14     Maybe the government would have pursued him anyway.                                  I don't

15     know.

16                But he was deceptive.                 He didn't let them know exactly

17     where he was and what he was doing.                       He asked his graduate

18     students to kind of help him conceal this.                            There was

19     definitely deception, but it didn't constitute wire fraud.                                    It

20     did constitute a false statement on this one particular count.

21     So I've taken all of that into consideration.

22                Frankly, based on all of the evidence I heard, I think

23     a reasonable jury could have found that what Dr. Tao was trying

24     to do was he was trying to figure out where he goes from KU.

25     He's a mid-career researcher.                 He's gotten this huge reward


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1      from KU.    They love this man, and they should; he's brought in

2      a claim and probably students to KU and certainly a lot of

3      federal research dollars to KU, which in a research institution

4      is important.

5                 But he's trying to figure out what his next steps are.

6      And so he, you know, gets involved with this China talent

7      program.    There's, you know, evidence going both ways as to

8      whether -- you know, he definitely got the scholar award.

9      There was the certificate in evidence.                         There's some evidence

10     about he had a contract.             There's evidence that suggested maybe

11     he didn't finalize the contract.                    I don't know.

12                But the bottom line is he was deceptive.                              He didn't

13     want to tell KU exactly what he was up to.                            He talked to some

14     colleagues about, you know, how can I accomplish this?                               How can

15     I go over there and test the waters, so to speak, with them?

16                And I think that's what he was doing; he was over in

17     China testing the waters, you know, starting to build a lab

18     during the buyout semester or during the semester that he was

19     able to be off campus, although he didn't fulfill all of his

20     responsibilities.       He didn't go to some faculty meetings, and,

21     you know, he was slow in responding to some students who wanted

22     some advising, but, again, I don't think that's a basis for a

23     felony conviction.

24                But I think he was testing the waters and he was being

25     deceptive about it, and that's not a basis for a custodial


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1      sentence in my view.          Deception, yes.                Wire fraud, no.         False

2      statement, yes.     No loss.           All of these I think go to the

3      nature and circumstances of the offense.

4                  His history and characteristics.                         Dr. Tao has had no

5      conviction, no prior criminal history whatsoever.                                He's been on

6      bond in this case since his arrest.                       He served a week in jail,

7      and then he's been on bond for three and a half years, since

8      August of 2019.     He's been on home detention, which is somewhat

9      custodial, home detention, wearing an ankle bracelet.                               He's not

10     had any violations of his conditions of pretrial release.                               Not

11     the same as being in prison by any means, but it has -- it has,

12     you know -- it has affected his ability to live in the world,

13     no doubt.

14                 I've taken into consideration the fact that Dr. Tao's

15     continued to do research.              I don't view that as a negative.

16     I'm like him; I view it as a positive.                         I don't view it as a

17     lack of remorse to tell someone who has spent their entire life

18     doing this kind of research that if you now do this research

19     while you're under pending charges or after you've been

20     convicted, that proves you're not remorseful.

21                 He's not getting federal funding.                          He's not filling

22     out NSF and DOE and KU forms, but he's still getting published.

23     As one of the authors -- the one author from one of the letters

24     from I think the University of Central Florida pointed out, you

25     know, everybody knows that he's under these charges; everybody


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1      in the community knows that he's been convicted now I guess,

2      but nobody else has questioned the integrity of his research.

3      His own peers -- he's still getting published in peer-reviewed

4      journals.    He's still probably working 70 or 80 hours a week at

5      home to do that.

6                  All of that I think is a positive.                           I don't think it

7      shows a lack of remorse.             I think it shows a commitment to the

8      work, and that was his failing I think.                          He was afraid that if

9      he, I guess, was completely transparent, you know, maybe he

10     wouldn't be able to test the waters, maybe he wouldn't be able

11     to build a world class lab as being a Changjiang scholar as

12     part of the Chinese talent program.

13                 He should not have lied about it.                          He should not have

14     been deceptive.     I think he knows that because that's why he's

15     here now.

16                 And when I say testing the waters, the evidence was he

17     went there, and there's e-mails and sort of communications

18     about this, they didn't come through.                        People's Republic of

19     China did not come through.                They weren't going to give him

20     enough money to build the lab that he needed that would come

21     even close to what he had at KU.                    He had one student that acted

22     like he might be willing to come over there, but another one,

23     no.   His family did not want to move there.                            His children were

24     born in the United States.               They're Americans.                      They didn't

25     want to go there.


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1                 So he tested the waters and probably figured out

2      pretty quickly this wasn't going to work, but apparently he

3      thought it made sense to be deceptive with KU and not let them

4      know he was doing that.            And frankly a lot of people go out in

5      the world and apply for other jobs and don't tell their

6      employers what they're up to for obvious reasons.                                It doesn't

7      constitute a federal crime if they lie to their employers that

8      they were over interviewing in China or Norway or wherever when

9      they were supposed to be at work, unless they obtained money or

10     property from their employer that they weren't entitled to.

11     But that's not what happened here.

12                So I've taken into consideration the nature and

13     circumstances of the offense, Dr. Tao's history and

14     characteristics.      I do not want to suggest that I think it is

15     not serious that researchers of any sort not comply with these

16     requirements of NSF, DOE, and their sponsoring academic

17     institutions.     It's important, that's why those rules are in

18     place.

19                I've taken into consideration general and specific

20     deterrence.     I have a hard time believing that a custodial

21     sentence is necessary to specifically deter Dr. Tao now when

22     he's lost his job or is in the process of losing, he suffered

23     everything that we've heard about here in this courtroom today.

24                And as far as general deterrence, I think that's

25     interesting.     I don't remember the name of the letter, but


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1      there was a letter from a researcher that knows Dr. Tao who is

2      from the University of Nebraska at Lincoln.                             And that person

3      said, you know, my institution -- I assume he was talking about

4      University of Nebraska -- he said I've been worried about these

5      conflict of interest forms for several years, and I have asked

6      for more clarity from the organization and I never get it and

7      I'm terrified.

8                 And I think general deterrence is in play here.                           I

9      think not only that person but probably other researchers have

10     seen what happened to Dr. Tao and perhaps some other people

11     that were prosecuted as part of this Department of Justice

12     initiative and are terrified that it could happen to them.

13                Apparently now the Chinese talent programs are not

14     going to be an issue anyway, one, because NSF and DOE or

15     whoever aren't going to fund people if they do disclose that,

16     and, two, in any event the Department of Justice apparently is

17     no longer pursuing these prosecutions that are solely on that

18     basis anyway.     I don't know.

19                But the point is, I think the scientific community is

20     generally deterred to see somebody of Dr. Tao's acclaim and

21     accomplishment go down the tubes like he has because of this,

22     so I don't think a custodial sentence is necessary to further

23     deter people.

24                The need to avoid unwanted disparities in sentencing.

25     The government has cited a number of cases.                             That's an


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1      important consideration under the 3553(a) factors, although the

2      government doesn't consider that the most important.                                They've

3      said it's who Dr. Tao is and the nature and circumstances of

4      the offense that are the primary considerations.                                 But the need

5      to avoid unwanted disparities in sentencing is appropriate.

6      Every case is different.             Some of these folks were convicted of

7      more serious activity.

8                 But I come back to the guidelines.                            I'm offering --

9      imposing a sentence within the guidelines, and the guidelines

10     are designed for this very purpose, and I do not think a

11     variance upward to a custodial sentence is necessary to avoid

12     unwanted disparities in this case.

13                So also I've considered whether there's a need for

14     correctional treatment and find that Dr. Tao requires no

15     educational or vocational training.                       He may require some

16     medical care which is consistent with the condition that I'm

17     imposing as part of his supervised release.

18                I will say that the defendant is asking for no term of

19     supervised release.         Given that I'm not imposing any additional

20     custodial sentence, I think supervised release is warranted but

21     without a condition for home detention.                          I do not think Dr. Tao

22     should have an ankle bracelet anymore.                         I don't think he needs

23     to be home detained anymore.                Otherwise the conditions of

24     supervision that are in the probation office will -- in the

25     presentence report will be imposed with one exception.


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1                 There's a recommendation in there for a community

2      service condition.        That pertains when somebody is given a

3      probation sentence.         I'm actually giving him a supervised

4      release sentence, so in paragraph 109 that condition will not

5      be imposed as part of the supervised release.                               Frankly, I think

6      what he is doing is community service, continuing to provide

7      scientific research.          If somebody doesn't want to accept it

8      because of his conviction, that's fine.                          But he continues to

9      work for the better of the scientific community whether it's

10     accepted or not.

11                So the court believes based on all of this that the

12     sentence as tentatively announced is sufficient but not greater

13     than necessary to reflect the seriousness of the offense, to

14     promote respect for the law, to provide just punishment, to

15     afford adequate deterrence, and to protect the public from

16     further crimes.

17                The court intends to order a special assessment of

18     $100 to the Crime Victims Fund but no fine due to Dr. Tao's

19     inability to pay.

20                Again, I'm intending to impose a two-year term of

21     supervised release.         I will say it's the policy of this court,

22     the entire District of Kansas, that if someone serves

23     50 percent of the term of supervised release without any

24     problems, we will early terminate them.

25                So a year from now if Dr. Tao continues being without


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1      blemish on his conditions as he's been for the last three and a

2      half years, this court will be inclined upon motion to

3      terminate the supervised release at the one-year mark.

4                 The court intends to impose the mandatory and special

5      conditions of supervision set forth in part D of the

6      presentence report with the exception again of paragraph 109.

7                 The drug testing condition is suspended based on the

8      court's determination that the defendant poses a low risk of

9      substance abuse in the future.

10                As directed by 18 U.S.C. Section 3561(c)1, when

11     someone is granted probation, the court can impose a fine,

12     restitution, or community service.                        But I'm not granting

13     probation, and so that's why I'm taking out the condition for

14     community service.

15                Because Dr. Tao is not a United States citizen, a

16     condition ordering compliance with ICE is warranted.

17                Dr. Tao reported being depressed since his arrest.                    A

18     special condition requiring mental health treatment will allow

19     him to receive counselling to address mental health issues and

20     provide him with needed medical care.

21                Voluntary surrender of course is not an issue given

22     the noncustodial sentence.

23                I'll hear objections or anything else from the parties

24     now.   First for the government.

25                MR. BARRY:       Nothing from the government, Your Honor.


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1                 THE COURT:       From the defendant.

2                 MR. ZEIDENBERG:           Nothing from the defense, Your Honor.

3      Thank you.

4                 THE COURT:       All right.            The court determines that the

5      presentence investigation report as corrected or modified by

6      the court and the previously stated findings are accurate and

7      orders those findings incorporated in the following sentence:

8                 Pursuant to the Sentencing Reform Act of 1984 it is

9      the judgment of the court that the Defendant Feng Tao is hereby

10     sentenced to two years of supervised release -- time served and

11     two years of supervised release.

12                While on supervised release, Dr. Tao shall comply with

13     the mandatory and standard conditions adopted by this court and

14     the special conditions of supervision set forth in part D of

15     the presentence report as amended, meaning no paragraph 109.

16                It is ordered Dr. Tao shall pay the United States a

17     special assessment of $100 to the Crime Victims Fund pursuant

18     to 18 U.S.C. Section 3013.               Payment of assessment is due

19     immediately.     Imposition of a fine is waived.

20                Both the government and defendant are advised as to

21     their respective rights to appeal this sentence and conviction.

22     An appeal taken from this sentence is subject to 18 U.S.C.

23     Section 3742.

24                Dr. Tao is advised it is your right to appeal the

25     conviction and sentence, but you can lose your right to appeal


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1      if you do not timely file a notice of appeal in the district

2      court.    Rule 4(b) of the Federal Rules of Appellate Procedure

3      gives you 14 days after the entry of judgment to file a notice

4      of appeal.    If you request, the clerk of the court shall

5      immediately prepare and file a notice appeal on your behalf,

6      and if you are unable to pay the cost of an appeal, you have

7      the right to apply for leave to appeal in forma pauperis.

8                 All right.        I think that completes our hearing today.

9      Thank you, counsel.

10                MR. ZEIDENBERG:             Your Honor, I'm sorry.                       On the

11     special assessment, is it -- I know it's due immediately.                                    Is

12     it possible -- I don't know if they have a check with them.

13     Can we have two days to pay that?

14                THE COURT:        Sure.        That's fine.

15                MR. ZEIDENBERG:             Thank you.

16                THE COURT:        I wish you the best, Dr. Tao.                           We'll be in

17     recess.

18          (The proceedings were adjourned.)

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1                                    C E R T I F I C A T E

2          I, Danielle R. Murray, a Certified Court Reporter and the

3      regularly appointed, qualified, and acting official reporter of

4      the United States District Court for the District of Kansas, do

5      hereby certify that the foregoing is a true and correct

6      transcript from the stenographically reported proceedings in

7      the above-entitled matter.

8          SIGNED 23rd of January, 2023

9
                              /s/Danielle R. Murray
10                            DANIELLE R. MURRAY, RMR, CRR
                              United States Court Reporter
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